 1 SULLIVAN HILL REZ & ENGEL
   A Professional Law Corporation
 2 Shannon D. Sweeney, SBN 204868
   Michael A. Zarconi,
                   th
                       SBN 288970
 3 600 B Street, 17 Floor
   San Diego, California 92101
 4 Telephone: (619) 233-4100
   Fax Number: (619) 231-4372
 5 9404.17558
 6 Attorneys for Defendant, MARK A. WILLIS
 7
 8                            UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10 ENSOURCE INVESTMENTS LLC,               )   Case No. 17cv0079 H LL
   a Delaware limited liability            )
11 company,                                )   DEFENDANT MARK A.
                                           )   WILLIS’ MOTION IN LIMINE
12               Plaintiff,                )   TO EXCLUDE EVIDENCE OF
                                           )   STATEMENTS MADE BY
13 v.                                      )   THE HONORABLE DAVID R.
                                           )   JONES, UNITED STATES
14 THOMAS P. TATHAM, an                    )   BANKRUPTCY JUDGE,
   individual; MARK A. WILLIS, an          )   REGARDING DEFENDANT’S
15 individual; PDP MANAGEMENT              )   CREDIBILITY IN
   GROUP, LLC, a Texas limited             )   CONNECTION WITH THE
16 liability company; TITLE ROVER,         )   HOPEWELL-PILOT
   LLC, a Texas limited liability          )   PROJECT, LLC AND TITLE
17 company; BEYOND REVIEW,                 )   ROVER, LLC BANKRUPTCY
   LLC, a Texas limited liability          )   PROCEEDINGS
18 company; IMAGE ENGINE, LLC, a           )
   Texas limited liability company;        )
19 WILLIS GROUP, LLC, a Texas              )
   limited liability company; and DOES     )
20 1-50,                                   )
                                           )
21               Defendants.               )
22
23
24
25
26
27
28
     408328-v1                                                   Case No. 17cv0079 H LL
 1                                   I.   INTRODUCTION
 2               By this motion, Defendant Mark Willis (“Mr. Willis”) seeks an order
 3 precluding Plaintiff Ensource Investments LLC (“Plaintiff”) from introducing
 4 evidence or argument relating to a transcript of a motion hearing on March 28, 2018,
 5 in the United States Bankruptcy Court for the Southern District of Texas, Case No.
 6 17-32880-H2-11 (the “Hopewell Bankruptcy”), the Honorable Judge David R. Jones
 7 presiding. Plaintiff has identified the transcript from the March 28, 2018 hearing on
 8 its Exhibit List as Plaintiff’s Exhibit 712 in connection with Plaintiff’s pretrial
 9 disclosures. Sweeney Decl. ¶ 2 at 2; Ex. A. The transcript contains harsh criticism of
10 Mr. Willis in connection with the Hopewell Bankruptcy proceedings and a negative
11 assessment of Mr. Willis’ credibility by Judge Jones, which Mr. Willis anticipates
12 Plaintiff intends to present to the jury. However, the testimony of the parties and the
13 findings by Judge Jones in the Hopewell Bankruptcy proceeding are entirely unrelated
14 to the material issues in this case and irrelevant. Any probative value such evidence
15 might have with respect to Mr. Willis’ credibility is vastly outweighed by the danger
16 of unfair prejudice that would arise if the jury is permitted to hear evidence of another
17 federal judge’s opinion regarding Mr. Willis’ credibility in a prior, unrelated hearing.
18 The entire transcript itself further constitutes inadmissible hearsay. As a result, Mr.
19 Willis respectfully requests that the Court enter an in limine order precluding Plaintiff
20 from introducing any evidence or argument relating to the March 28, 2018 hearing
21 transcript which it has identified in pretrial disclosures as Plaintiff’s Exhibit 712.
22 Alternatively, Mr. Willis requests that the Court enter an in limine order precluding
23 Plaintiff from introducing any evidence or argument regarding Judge Jones’ opinions,
24 findings and conclusions regarding Mr. Willis’ credibility—specifically, ln. 19 at 108
25 to ln. 18 at 112 of Exhibit A.
26 / / /
27 / / /
28
     408328-v1                                 1                         Case No. 17cv0079 H LL
 1                                         II.   ARGUMENTS
 2 A.            Statements and Conclusions of a Bankruptcy Judge in a Separate
                 Proceeding are Irrelevant
 3
 4               Irrelevant evidence is not admissible. Fed. R. Evid. 402. To be relevant,
 5 evidence must have a tendency to make a fact that is of consequence in determining
 6 the action more or less probable than it would be without the evidence. Fed. R. Evid.
 7 401. In assessing relevance, “[a] rule of thumb is to inquire whether a reasonable man
 8 might believe the probability of the truth of the consequential fact to be different if he
 9 knew of the proffered evidence.” United States v. Brashier, 548 F. 2d 1315, 1324 (9th
10 Cir. 1976).
11               The credibility of a witness is solely in the province of the jury. United States
12 v. Awkward, 597 F. 2d 667, 671 (9th Cir. 1979). “[T]he jury is the lie detector in the
13 courtroom.” Id. (quoting United States v. Barnard, 490 F. 2d 907, 912 (9th Cir.
14 1973)). Indeed, despite the “powerful persuasive value” of evidence resulting from a
15 lie detector test, Courts have found such “evidence is disfavored because it has the
16 potential to replace a jury’s independent credibility determination. Vallery v. Brown,
17 No. 08-cv-00095 DMS(RBB), 2011 U.S. Dist. LEXIS 115888, at *30 (S.D. Cal. Oct.
18 6, 2011). Thus, “[u]nder the Federal Rules, opinion testimony on credibility is limited
19 to character; all other opinions on credibility are for the jurors themselves to form.
20               Here, the statements and conclusions of Judge Jones in the Hopewell
21 Bankruptcy proceeding are irrelevant to any material fact at issue in this action. Judge
22 Jones’ findings with respect to Mr. Willis’ credibility were based on the specific facts
23 and statements before the court on March 18, 2018 in an entirely unrelated
24 proceeding. Any assessment regarding Mr. Willis’ credibility in connection with that
25 proceeding is entirely irrelevant and unrelated to Mr. Willis’ ultimate credibility in
26 connection with the facts and testimony he will introduce at trial in this case. Because
27 the evaluation of Mr. Willis’ credibility must be made by the jury based solely upon
28
     408328-v1                                       2                         Case No. 17cv0079 H LL
 1 the facts and evidence presented at trial in this action, the Court should exclude any
 2 evidence or argument regarding Judge Jones’ opinions, findings and conclusions
 3 regarding Mr. Willis’ credibility from the Hopewell Bankruptcy proceedings as
 4 irrelevant pursuant to Rule 402.
 5 B.            Evidence of Judge Jones’ Statements and Conclusions in a Separate
                 Proceeding Would be Unduly Prejudicial, Misleading, and a Waste of Time
 6
 7               One of the basic purposes of a motion in limine is to “avoid the obviously futile
 8 attempt to ‘unring the bell’ once the evidence is aired before the jury.” Brodit v.
 9 Cambra, 350 F. 3d 985, 1005 (9th Cir. 2003)(quoting Kelly v. New W. Fed. Sav., 49
10 Cal. App. 4th 659 (1996). Thus, under Federal Rule of Evidence 403:
11               The court may exclude relevant evidence if its probative value is
                 substantially outweighed by a danger of one or more of the following:
12               unfair prejudice, confusing the issues, misleading the jury, undue delay,
                 wasting time, or needlessly presenting cumulative evidence.
13
14 Fed. R. Evid. 403.
15 “Unfair prejudice” within the context of Rule 403 “means an undue tendency to
16 suggest decision on an improper basis. . .” Cohn v. Papke, 655 F. 2d 191, 194 (9th
17 Cir. 1981). Here, if the statements and conclusions of Judge Jones in the Hopewell
18 Bankruptcy had any relevance in this action, their minimal probative value is
19 substantially outweighed by the risk of unfair prejudice, misleading the jury and
20 wasting the parties’ strictly limited time at trial.
21               The dangers associated with presenting evidence of another judge’s statements
22 from a separate proceeding to the jury are discussed at length in United States v. Sine,
23 493 F. 3d 1021 (9th Cir. 2007). Sine involved a lawyer (“Sine”) who had helped run
24 an illegal pyramid scheme defrauding investors by, among other things,
25 misrepresenting the value of the collateral toward which they were investing. When it
26 was ultimately revealed that the collateral was in fact worthless, Sine claimed he was
27 equally surprised and unaware that the collateral was illusory. To bolster his “good
28
     408328-v1                                       3                         Case No. 17cv0079 H LL
 1 faith” defense to the criminal indictment that followed, Sine commenced a number of
 2 civil suits purportedly seeking to recover the value of the collateral. In one of these
 3 civil suits, Judge James Carr of the Ohio District Court did not hold back in making
 4 findings about Sine’s credibility. As the Ninth Circuit put it, “Judge Carr entered
 5 findings that, to put it mildly, were likely to lead the reader to distrust everything Sine
 6 said or did.” Id. at 1027. After the prosecutor introduced Judge Carr’s statements
 7 regarding Sine’s credibility (or lack thereof) into evidence in the criminal proceedings
 8 in the Eastern District of California, the jury convicted Sine for mail fraud and he was
 9 sentenced to seventy months in prison. Appealing the conviction and sentence, Sine
10 argued it was improper for the prosecutor to use Judge Carr’s factual findings during
11 his cross-examination in front of the jury. Agreeing with Sine, the Ninth Circuit
12 explained:
13               Sine argues that bringing the adverse, derogatory factual findings and
                 comments in Judge Carr's opinion before the jury created too great of a
14               danger of unfair prejudice and thus violated Rule 403 of the Federal
                 Rules of Evidence. We agree.
15
                 Rule 403 provides that "[a]lthough relevant, evidence may be excluded if
16               its probative value is substantially outweighed by the danger of unfair
                 prejudice, confusion of the issues, or misleading the jury." FED. R.
17               EVID. 403. We have previously observed that factual testimony from a
                 judge unduly can affect a jury. See Chein v. Shumsky, 373 F.3d 978, 989
18               n.6 (9th Cir. 2004) (en banc). Similarly, jurors are likely to defer to
                 findings and determinations relevant to credibility made by an
19               authoritative, professional factfinder rather than determine those issues
                 for themselves. [*1034] Cf. FED. R. EVID. 605 ("The judge presiding at
20               the trial may not testify in that trial as a witness."); United States v.
                 Frankenthal, 582 F.2d 1102, 1108 (7th Cir. 1978) ("[T]he possibility that
21               prestige, dignity, and authority may have somehow been imparted to the
                 prosecution's case by the judge's appearance on its behalf cannot lightly
22               be dismissed.").
23 United States v. Sine, 493 F.3d 1021, 1033-34 (9th Cir. 2007).
24               Analogizing to the Fourth Circuit opinion in Nipper v. Snipes, 7 F. 3d 415, 418
25 (4th Cir. 1993), the Court pointed out that:
26               in circumstances similar to those in this case such evidence should be
                 excluded under [Rule] 403. This is because judicial findings of fact
27               'present a rare case where, by virtue of their having been made by a
28
     408328-v1                                      4                         Case No. 17cv0079 H LL
                 judge, they would likely be given undue weight by the jury, thus creating
 1               a serious danger of unfair prejudice.
 2 Sine, 493 F. 3d at 1034.
 3               Balancing the probative value of Judge Carr’s findings against the danger of
 4 prejudice, the Court found, “the nature of the facts found and comments made by
 5 Judge Carr -- directly opining on Sine’s motivations and truthfulness, thereby
 6 implicating Sine’s overall credibility as a witness -- heavily weighs on the unfair
 7 prejudice side of the balance.” Sine, 493 F. 3d at 1034. “Supporting the conclusion
 8 that the use of Judge Carr’s opinion was violative of Rule 403 as tending to prejudice
 9 the jury [was] the consideration that the government could have proved the facts in
10 Judge Carr’s finding through less prejudicial means.” Id. at 1035. Finally, as to the
11 potential substitution of Judge Carr’s evaluation of Sine’s credibility for the jury’s
12 ultimate role in assessing credibility, the Court explained:
13               The order's use of terms like "chicanery, mendacity, deceit, and pretense"
                 are highly pejorative, however accurately they may have described Sine's
14               behavior. The impact of this strongly negative assessment was bolstered
                 by the prosecutor's juxtaposition, during Sine's cross-examination and
15               during closing argument, of Judge Carr's unflattering conclusions with
                 Sine's claims that he was now telling the truth. The jury's evaluation of
16               Sine's entire testimony could well have been influenced by knowing that
                 a judge -- who would be presumed to have expertise in judging
17               credibility -- had already deemed him untrustworthy. See Chein, 373 F.3d
                 at 989 n.6 ("[T]he likely impact on the jury of a sitting state court judge
18               pronouncing the existence of an essential element of a crime, while
                 vigorously denouncing the defendant and his credentials, is difficult to
19               ignore." (emphasis added)).
20 Sine, 493 F. 3d at 1040.1
21
22               1
                  Despite the Court’s unequivocal conclusion that Judge Carr’s opinions
23   and conclusions regarding Sine’s credibility should have been excluded under Rule
     403, the Ninth Circuit ultimately affirmed the District Court judgment on the grounds
24   that the error was not reversible. Specifically, the Court found that the evidence of
     Sine’s lack of credibility was “absolutely overwhelming” long before Judge Carr’s
25   findings were ever aired to the jury. Sine, 493 F. 3d at 1040. As a result, Sine “failed
     to establish a ‘reasonable probability’ that the jury would have acquitted him absent
26   the references to Judge Carr’s findings.” Id. at 1041. Thus, the evidence was so
     overwhelming that no reasonable jury could have found Sine credible even if Judge
27   Carr’s statements were never presented into evidence.
28
     408328-v1                                       5                         Case No. 17cv0079 H LL
 1               The same analysis applies with equal force here. Plaintiff has placed on its
 2 exhibit list a transcript from a motion hearing in the Hopewell Bankruptcy
 3 proceedings wherein Judge Jones does not mince words regarding his evaluation of
 4 Mr. Willis’ credibility. (See Ex. A ln. 25 at 108 to ln. 18 at 111.)                Judge Jones’
 5 assessment includes, among others, the following remarks:
 6        “In terms of looking at the plan, this plan is based upon a set of projections
 7               which have no basis in reality.” (Ex. A ln. 25 at 108 to ln. 2 at 109.)
 8        “I find that the proposed plan was never intended to be a good faith attempt to
 9               reorganize the debts of the Debtor. This process has been nothing more than an
10               attempt to satisfy the concerns of the principal, not the Debtor. Some of the
11               answers to the questions to Mr. Willis, quite frankly, were just shocking to me.”
12               (Ex. A lns. 11-16 at 109.)
13        “As a witness, I find him to be wholly non-credible.” (Ex. A lns. 17-18 at 109.)
14        “I’ve got monthly operating reports which are just false. I have looked at
15               January and February. Not even a good faith attempt at being truthful.” (Ex. A
16               ln. 24 at 109 to ln. 1 at 110.)
17        “And I want to be very clear that a Chapter 11 plan, it’s not a platform to peddle
18               snake oil.” (Ex. A lns. 4-5 at 110.)
19               These statements by Judge Jones are precisely the type of credibility
20 evaluations that the Ninth Circuit determined are properly excluded under Rule 403 in
21 Sine. It is the jury’s role to evaluate Mr. Willis’ credibility based on the facts and
22 evidence presented in this action. The mere fact that these statements were made by a
23 another federal judge presents a substantial danger that the jury would place greater
24 weight on Judge Jones’ evaluation than their own first-hand assessment of Mr. Willis’
25 credibility in this case. Or worse, the jury could simply rely on Judge Jones’ findings
26 regarding Mr. Willis’ credibility and view all of Mr. Willis’ testimony in this action
27 through a tainted lens of distrust. As a result, evidence of Judge Jones’ statements and
28
     408328-v1                                          6                        Case No. 17cv0079 H LL
 1 conclusions about Mr. Willis’ credibility are highly likely to confuse or mislead the
 2 jury and unfairly prejudice Mr. Willis. Therefore, the Court has ample grounds—if
 3 not a clear obligation—to exclude evidence regarding the statements and conclusions
 4 of Judge Jones regarding Mr. Willis’ credibility in connection with the Hopewell
 5 Bankruptcy proceedings.
 6               In addition to the risk of unfair prejudice and misleading the jury, it bears
 7 further mention that evidence of Judge Jones’ statements and conclusions in the
 8 Hopewell Bankruptcy proceedings would unnecessarily waste precious time and
 9 judicial resources. As the Court is well aware, the timeline for trial in this case is
10 extremely limited. Plaintiff and Defendant have only 11 hours per side to present
11 their respective cases/defenses.              Meeting that timeline is going to require
12 extraordinary efficiency. The waste of time that evidence of Judge Jones’ statements
13 and conclusions from the Hopewell Bankruptcy would necessitate in this case is
14 further grounds for the Court to exclude such evidence in limine pursuant to Rule 403.
15 C.            Hearing Transcripts From the Hopewell Bankruptcy Proceeding are
                 Inadmissible Hearsay
16
17               Subject to limited exceptions, the Federal Rules of Evidence prohibit the
18 introduction of hearsay evidence. Fed. R. Evid. 802. “Hearsay” is defined as a
19 statement that: 1) the declarant does not make while testifying at the current trial or
20 hearing; and 2) a party offers in evidence to prove the truth of the matter asserted in
21 the statement. Fed. R. Evid. 801(c). “A court judgment is hearsay ‘to the extent that it
22 is offered to prove the truth of the matters asserted in the judgment’.” Sine, 493 F. 3d
23 at 1036; quoting United States v. Boulware, 384 F. 3d 794, 806 (9th Cir. 2004). As
24 the Ninth Circuit explained in Sine:
25               It is even more plain that the introduction of discrete judicial factfindings
                 and analysis underlying the judgment to prove the truth of those findings
26               and that analysis constitutes the use of hearsay. The concern about
                 evidence that is neither based on personal knowledge nor subject to
27               cross-examination, which explains an ultimate judgment's treatment as
                 hearsay, is even more pronounced when dealing with statements that
28
     408328-v1                                        7                          Case No. 17cv0079 H LL
                 recapitulate in detail others' testimony and declarations. We therefore
 1               agree with the Fourth, Tenth, and Eleventh Circuits that judicial findings
                 of facts are hearsay, inadmissible to prove the truth of the findings unless
 2               a specific hearsay exception exists.
 3 Sine 493 F. 3d at 1036 (internal citations omitted); citing Herrick v. Garvey, 298 F. 3d
 4 1184, 1191-92 (10th Cir. 2002), United States v. Jones, 29 F. 3d 1549, 1554 (11th Cir.
 5 1994) and Nipper, 7 F. 3d at 417.
 6               Simply put, findings of fact in a prior, unrelated case are inadmissible hearsay.
 7 Herrick, 298 F. 3d at 1192. The same is true with respect to references to testimony in
 8 an order from a prior, unrelated proceeding. Jones, 29 F. 3d at 1554; Sine, 493 F. 3d
 9 at 1036. Although the rules of evidence provide specific exceptions for the admission
10 of prior judgments, neither exception applies when a party seeks to introduce a prior
11 order as evidence regarding credibility. Sine, 493 F. 3d at 1036.2
12               Here, the entire transcript of the motion hearing on March 28, 2018 in the
13 Hopewell Bankruptcy constitutes hearsay. In its entirety, the transcript consists of
14 statements by Mr. Willis, the parties’ lawyers, and Judge Jones outside of the current
15 trial or proceedings, which Plaintiff should be precluded from introducing to prove the
16 truth of any matter asserted therein. Fed. R. Evid. 802. As a result, Plaintiff should
17 not be permitted to introduce any portion of the transcript from the March 28, 2018
18 Hopewell Bankruptcy hearing into evidence.
19                                         III.   CONCLUSION
20               Evidence and argument regarding Judge Jones’ opinions, findings and
21 conclusions from the March 28, 2018 hearing in the Hopewell Bankruptcy
22 proceedings should be excluded as irrelevant and/or unfairly prejudicial, misleading
23 and wasteful of time. Moreover, the entire transcript of the March 28, 2018 hearing in
24
                 2
25              The exceptions to the hearsay rule for prior judgments are limited to: 1)
   prior judgments involving criminal convictions subject to more than one year of
26 imprisonment (Fed. R. Evid. 803(22)); and 2) judgments used for “proof of matters of
   personal, family or general history, or boundaries” (Fed. R. Evid. 803(23)). Neither
27 exception applies in this case.
28
     408328-v1                                        8                         Case No. 17cv0079 H LL
1 the Hopewell Bankruptcy proceedings constitutes inadmissible hearsay. As a result,
2 Mr. Willis respectfully requests that the Court issue an in limine order prohibiting
3 Plaintiff from seeking to introduce any evidence or argument relating to the transcript
4 of the March 28, 2018 hearing in the Hopewell Bankruptcy proceedings to the jury in
5 this case. Alternatively, and at a minimum, the Court should issue an in limine order
6 prohibiting Plaintiff from seeking to introduce any evidence or argument regarding
7 Judge Jones’ opinions, findings and conclusions regarding Mr. Willis’ credibility—
8 specifically, ln. 19 at 108 to ln. 18 at 112 of Exhibit A.
9 Dated:         January 13, 2020       SULLIVAN HILL REZ & ENGEL
                                        A Professional Law Corporation
10
11
                                        By:   /s/   Shannon D. Sweeney
12                                            Shannon D. Sweeney
                                              Attorneys for Defendant
13                                            MARK A. WILLIS
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     408328-v1                                 9                      Case No. 17cv0079 H LL
